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Case: 2:21-mj-00531-EPD Doc #: 1 Filed: 08/10/21 Page: 2 of 10 PAGEID #: 2
Case: 2:21-mj-00531-EPD Doc #: 1 Filed: 08/10/21 Page: 3 of 10 PAGEID #: 3
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